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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

DaJovan Pettit,                                    Court File No. 0:23-cv-02789-JWB-JFD
                                      Plaintiff,
                                                        JOINT STIPULATION TO
       v.                                              TEMPORARILY STAY ALL
Allina Health System, a non-profit domestic                 PROCEEDINGS
corporation d/b/a Abbott-Northwestern
Hospital,
                                   Defendant.

       Plaintiff DaJovan Pettit and Defendant Allina Health System (“Allina,” who with

Pettit are collectively the “Parties”) jointly stipulate and move the Court to temporarily

stay all proceedings for the next 60 days. The Parties stipulate that good cause exists for

the Court to temporarily stay all proceedings and further state below:

I.     Recitals.

       1.     On September 11, 2023, Pettit filed the instant lawsuit. (Dkt. 1.)

       2.     On February 2, 2024, Pettit filed the Amended Complaint. (Dkt. 25.)

       3.     Allina filed a Motion to Dismiss the Amended Complaint, which the Court

later granted in part and denied in part on February 20, 2024. (Dkt. 46.)

       4.     On August 21, 2024, Pettit appeared for her deposition. Then, through

counsel, on August 29, 2024, Allina sent a letter to Pettit raising alleged violations of FED.

R. CIV. P. 11, because during Pettit’s deposition, she admitted that the material and racially-

charged allegations in the Amended Complaint were unsupported by evidence.1 Allina,



1
 The Joint Status Update on Settlement, dated August 27, 2024, outlines Allina’s concerns
with Pettit’s Amended Complaint.
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however, has not yet formally served the Safe Harbor Notice under Rule 11. Plaintiff’s

counsel did offer to strike any unsupported allegations or causes of action after discussing

the same with Plaintiff.

       5.      On September 4, 2024, Pettit’s current counsel, Richard W. Hechter,

informed Allina of his intention to withdraw from this case as Pettit’s counsel of record but

wanted to give Plaintiff notice and the opportunity to obtain new counsel. As of the filing

of this Joint Stipulation, however, Hechter has not yet withdrawn as Pettit’s counsel.

       6.      Based on the testimony provided by Pettit during her deposition, Allina

anticipates proceeding with motion practice under Rule 11. In so doing, Allina intends to

seek dismissal of Pettit’s Amended Complaint with prejudice, along with monetary

sanctions against Pettit, Hechter, and Morris Law Group, P.A. (collectively, “Pettit

Litigants”), jointly and severally, including seeking recovery of Allina’s reasonable

attorney’s fees and other expenses. FED. R. CIV. P. 11(c)(4). Plaintiff’s counsel informed

defense counsel that it will correct or remedy any issues, with Plaintiff’s consent, during

the Safe Harbor time.

       7.      The Parties agree that the Court temporarily staying all proceedings, except

as described below, will best serve the interests of justice and the efficient management of

this case, because:

            a. The temporary stay will allow Pettit the opportunity to obtain new counsel,

               should she choose to do so.

            b. The temporary stay will afford Allina sufficient time to finalize its Safe

               Harbor Notice and serve that on the Pettit Litigants.

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            c. With the temporary stay, Pettit (and her new counsel, should she retain one)

               may solely focus her attention on the content of Allina’s Safe Harbor Notice,

               without being concerned with other non-expired deadlines in the case.

            d. The temporary stay will prevent further expenditure of the Parties’ and the

               Court’s time and resources litigating the Amended Complaint’s facts and

               claims that may no longer be operative, and that Pettit no longer endorses, in

               light of her deposition testimony.

II.    Stay of Proceedings.

       Accordingly, the Court should adopt this Joint Stipulation and rule as follows:

       1.      Upon the Court filing the Order that approves of this Joint Stipulation, the

instant action is immediately stayed for the next 60 days (the “Stay Period”).

       2.      During the Stay Period, all non-expired deadlines in the Pretrial Scheduling

Order (Dkt. 55) and Order for Settlement Conference (Dkt. 56) are stayed.

       3.      The Court will strike the following events from its calendar: (1) the status

conference on September 10, 2024 at 9:00 a.m.; and (2) the settlement conference for

October 10, 2024, at 9:00 a.m.

       4.      During the Stay Period, the Parties cannot conduct any discovery, and so, the

Parties cannot serve written discovery, take any depositions, or serve subpoenas of any

kind. Specifically, when the Stay Period is in effect, Pettit is barred from re-noting the

deposition of Allina’s corporate designee.

       5.      As an exception to the Stay Period, the Court will allow Allina to pursue the

sanctions process against the Pettit Litigants under FED. R. CIV. P. 11. Specifically, during

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the Stay Period, Allina may: (1) serve the Safe Harbor Notice on the Pettit Litigants on or

before September 20, 2024; and (2) if necessary and after the safe harbor period expires,

file its Rule 11 motion (and supporting papers) against the Pettit Litigants with the Court

and obtain a hearing date on its Rule 11 motion, even if the hearing date falls within the

Stay Period.

       6.      The Stay Period will automatically expire on the 61st day.

       7.      On November 8, 2024, the Parties will submit a joint letter advising the Court

of the case status.

       8.      If any part of the Amended Complaint (Dkt. 25) remains after the Stay Period

expires, then the Parties must also file a Proposed Amended Pretrial Order by November

8, 2024.


Dated: September 6, 2024                          /s/ Rich Hechter
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Dated: September 6, 2024                   /s/ Lehoan T. Pham
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